19-13895-jlg    Doc 565     Filed 06/14/22 Entered 06/14/22 14:41:28             Main Document
                                         Pg 1 of 4

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   June 14, 2022

   Via FedEx
   Honorable James J. Garrity, Jr.
   United States Bankruptcy Court
   Southern District of New York
   One Bowling Green
   New York, NY 10004-1408

          RE:      In re Orly Genger, Case No.: 19-13895-jlg

   Dear Judge Garrity:

           This firm represents judgment creditor Sagi Genger (“Sagi”) in the above Chapter
   7 case. I write to address the adversary proceeding complaint filed the evening of Friday,
   June 10, 2022 (the “Complaint”) (Docket No. 564) by the Chapter 7 Trustee (the
   “Trustee”) and various parties aligned with the Debtor (the “Plaintiffs”), against various
   creditors of the estate, including Sagi, and others (the “Defendants”).

           The Complaint makes three judicial admissions that directly contradict and
   undermine the positions taken by the Plaintiffs in connection with Sagi’s pending Motion
   to Dismiss and the Trustee’s 9019 Motion (collectively, the “Pending Motions”). We
   therefore request their addition to the record on each of the Pending Motions. A party is
   “bound throughout the course of the proceeding” by its prior arguments. Bellefonte Re Ins.
   Co. v. Argonaut Ins. Co., 757 F.2d 523, 528 (2d Cir. 1985) (party cannot contradict its own
   pleading with affidavits); see also Soo Line R.R. Co. v. St. Louis Southwestern Ry. Co., 125
   F.3d 481, 483 (7th Cir. 1997) (“judicial efficiency demands that a party not be allowed to
   controvert what it has already unequivocally told a court by the most formal and considered
   means possible”) (internal quotation marks omitted).

   Orly’s Entitlement to Proceeds of the 2013 Settlement

           As this Court is aware, the U.S. District Court twice found that Orly had “monetized
   her beneficial interest [in TRI] for $32.3 million.” Genger v. Genger, 2018 WL 3632521
   at *6 (S.D.N.Y. July 27, 2018), aff’d, 771 F. App’x 99 (2d Cir. 2019), citing Genger v.
   Genger, 76 F. Supp.3d 488, 493-94 (S.D.N.Y. 2015), aff’d, 663 F. App’x 44 (2d Cir. 2016).
   Despite this final court adjudication, the Debtor and her fraudulent transferees consistently
   asserted throughout the bankruptcy case that the Debtor was not entitled to any of the $32.3
   million (which the Court will recall is comprised of $17.7 million that was paid in 2013
   and the two $7.5 million “Settlement Notes”), and that she was therefore insolvent.



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19-13895-jlg    Doc 565      Filed 06/14/22 Entered 06/14/22 14:41:28              Main Document
                                          Pg 2 of 4
   EMMET, MARVIN & MARTIN,    LLP



   Honorable James J. Garrity, Jr.
   June 14, 2022
   Page 2

            Specifically, in her objection to the Motion to Dismiss, the Debtor argued with
   respect to the $32.3 million that (a) “she neither has this money nor, in her good faith view,
   a legal right to it” (Docket No. 425, at ¶ 74), (b) “Orly’s interest extends only to the point
   of demonstrating that the funds do not belong to her” (Id., at ¶ 78), and (c) “Arie is entitled
   to that $32.3 million in cash” (Id., at ¶ 81). Similar arguments were made throughout the
   trial on the Motion to Dismiss by ADBG, Arie Genger, Eric Herschmann and Kasowitz to
   support their arguments that this bankruptcy should be allowed to continue and that the
   Debtor had not filed misleading schedules. Additionally, pre-petition, the Debtor argued to
   the U.S. Court of Appeals for the Second Circuit that “The remaining balance of $15
   million [from the original $32.3 million] … has nothing to do with Orly.” See Corrected
   Reply Brief for [Orly Genger], admitted as Movant’s Trial Exh. 10, p. 21 (Docket No. 239-
   11).

           Contrary to their prior arguments, Count VII of Plaintiffs’ Complaint now asserts
   that the Debtor has been damaged by the Defendants’ actions that have prevented the two
   $7.5 million “Settlement Notes” from maturing and otherwise sought to “interfere with and
   try to obtain for themselves the benefits of the 2013 Settlement.” See Complaint ¶¶ 268-
   271. By necessity, the Debtor cannot be damaged by the failure of a third party to pay on
   notes to which the Debtor explicitly disclaims any right unless the Debtor actually does
   have such a right. She does. Sagi demonstrated at the trial on the Motion to Dismiss that
   the Debtor is entitled to direct the payment of a significant portion of the proceeds of the
   Settlement Notes pursuant to the March 31, 2017 Escrow Agreement. The Debtor’s
   ownership of those proceeds was also reflected in Arie Genger’s tax returns and elsewhere.
   Now that the Debtor finally acknowledges her claim to the proceeds of the Settlement
   Notes, the Court must consider that admission (and her prior, false denials) in connection
   with its decisions regarding the Pending Motions.

   The Debtor’s Status as a Borrower from the Brosers

           The Debtor also argued (contrary to all of the relevant documentation) that she had
   borrowed money from her father and not the Brosers. According to the Debtor’s post-trial
   brief in connection with the Motion to Dismiss, the Debtor “never did borrow any funds
   from the Brosers.” (Docket No. 511, at ¶ 7). The brief cites to testimony at the trial by the
   Debtor, her father Arie, and David Broser all stating that she never borrowed money from
   the Brosers. Id. This argument was critical to the Debtor’s position because, if the Debtor
   were obligated directly to the Brosers, she could not also be obligated for the same amounts
   to her father Arie, and the parties had gone to great lengths to make it appear that she was,
   including fabricating ten supposedly superseded notes.

         Count VII of the Complaint also asserts damage to the Debtor on account of certain
   Defendants seeking to recover the $17.3 million previously paid to the Brosers. That
   amount was allegedly used to satisfy a portion of the loan obligations of Arie to the Brosers.
19-13895-jlg    Doc 565     Filed 06/14/22 Entered 06/14/22 14:41:28             Main Document
                                         Pg 3 of 4
   EMMET, MARVIN & MARTIN,    LLP



   Honorable James J. Garrity, Jr.
   June 14, 2022
   Page 3

   The Debtor’s claim of damage as a result of certain Defendants seeking to recover those
   amounts is directly contrary to the allegations made by the Debtor and the other Plaintiffs
   that the Debtor did not borrow any money directly from the Brosers.

           These directly contradictory arguments by the Debtor are further evidence of her
   bad faith and should be considered by this Court in connection with the Pending Motions.
   See In re Tamecki, 229 F.3d 205, 229, n.2 (3d Cir. 2000) (holding that “where [the party
   objecting to discharge] has called into question debtor’s good faith, and put on evidence
   sufficient to impugn that good faith, the burden then shifts to the debtor to prove his good
   faith”); see also Piazza v. Keswani (In re Keswani), 20-10345-JLG (Bankr. S.D.N.Y. Jan.
   7, 2022) (holding that “[o]nce the objecting party has produced evidence of a false
   statement, the burden shifts to the debtor to provide evidence that the misrepresentation
   was not intentional or provide another credible explanation”).

   The Trustee Effectively Forfeits the Estate’s Primary Asset

           The Complaint is also unfortunate in that the Trustee goes further in abandoning
   her fiduciary duty to the estate than she did in the 9019 Motion. While the 9019 Motion
   contained statements by the Trustee that would have undermined the potential value of the
   fraudulent transfer claims in the event the Court did not approve the settlement, the
   Complaint, to which the Trustee is a Plaintiff and signatory through counsel, states
   unequivocally in paragraph 4 that the “$32.3 million … was supposed to be paid to Arie
   and ADBG.” As this Court is well aware, in order to preserve the value of their claims
   should the Court not approve a settlement, parties to bankruptcy settlements do not concede
   their opponent’s position prior to approval of the settlement even in ordinary cases, let
   alone here, where the opponent’s position is debunked by the prior judicial findings of the
   District Court, unanimously affirmed by the Second Circuit.

            The Trustee has apparently become so certain of the righteousness of her potential
   opponents’ position that she is willing to deviate from that standard and leave herself
   completely unable to recover the $32.3 million – far and away the estate’s principal asset
   – if this Court does not approve her settlement. The Trustee’s actions have created an even
   greater need for the Court to grant Sagi’s cross-motion for STN standing in the event it does
   not grant the 9019 Motion, because the Trustee’s allegations in the Complaint would
   certainly be used as a judicial admission against her in any future attempt to recover the
   $32.3 million. Furthermore, depending on the Court’s disposition of the Pending Motions,
   Sagi reserves the right to seek redress for the Trustee’s repeated abdication of her duties,
   including through a motion for removal for cause.

            The Complaint is also completely frivolous for a number of other reasons, including
   that it follows through on the Trustee’s unfortunate earlier promises to seek to re-litigate
   claims the Debtor previously lost in other courts. We will respond to the Complaint in full
19-13895-jlg      Doc 565   Filed 06/14/22 Entered 06/14/22 14:41:28            Main Document
                                         Pg 4 of 4
   EMMET, MARVIN & MARTIN,   LLP



   Honorable James J. Garrity, Jr.
   June 14, 2022
   Page 4

   on its merits in due course but write here only to address aspects of the Complaint that are
   relevant to the Court’s consideration of the Pending Motions.

          We thank the Court for its consideration.

                                                 Respectfully submitted,

                                                 /s/ Thomas A. Pitta
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          Encl.
